               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

  STATE OF ALASKA, DEPARTMENT OF )
  TRANSPORTATION & PUBLIC        )
  FACILITIES,                    )
                                 )
                 Plaintiff,      ) Case No. 3:20-CV-00306-JWS
                                 )
         vs.                     )
                                 )
  2.396 ACRES MORE OR LESS NEAR  )
  BETHEL, ALASKA, et al.,        )
                                 )
                 Defendants.     )
                                 )
                                 )

     PROPOSED ORDER GRANTING UNOPPOSED MOTION TO
                  SUBSTITUTE EXPERT

      The Government seeks to substitute its expert and amend the scheduling

order at Dkt. 27 accordingly. The Polks, through counsel, do not oppose this

motion. The State of Alaska also does not oppose. Defense expert reports are

now due January 2, 2023. Expert discovery closes February 28, 2023.

Motions under the discovery rules shall be served and filed not later than

February 28, 2023. Dispositive motions shall be served and filed not later

than May 1, 2023. Motions to exclude expert testimony shall be served and

filed not later than May 1, 2023.

      IT IS SO ORDERED.

Dated: __________________                ________________________________
                                         Honorable John W. Sedwick
                                         United States District Judge
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